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                                             Attorneys for Defendants Bank of America, N.A. and
                                        9    ReconTrust Co., N.A.
                                       10
                                                                   IN THE UNITED STATES DISTRICT COURT
                                       11
Two North Central Avenue, Suite 2200




                                                                    IN AND FOR THE DISTRICT OF ARIZONA
                                       12
    Phoenix, Arizona 85004-4406




                                       13   Ivaylo Tsvetanov Dodev,                            No. 2:13-CV-02155-DLR
          Bryan Cave LLP


           (602) 364-7000




                                       14                    Plaintiff,
                                                                                              STATEMENT OF CONSULTATION
                                       15               v.                                    IN SUPPORT OF MOTION FOR
                                            ReconTrust Company, N.A.; Select Portfolio        ATTORNEYS’ FEES, BY
                                       16   Servicing, Inc.; The Bank of New York             DEFENDANTS BANK OF
                                       17   Mellon, Corporation, FKA The Bank of New          AMERICA, N.A. AND
                                            York; Bank of America, N.A., successor of         RECONTRUST COMPANY, N.A.
                                       18   Countrywide Home Loans, Inc.; Real Time
                                            Resolutions, Inc.; and Does 1-100, in his/her
                                       19   individual and official capacity,
                                                             Defendants.                       (Hon. Douglas L. Rayes)
                                       20
                                       21               Pursuant to LR Civ 54.2(d)(1), undersigned moving counsel certifies that on
                                       22    September 29, 2015, counsel sent an email to Plaintiff Ivaylo Dodev indicating that Bank
                                       23    of America, N.A. and Recontrust Company, N.A. intended to seek fees in this matter,
                                       24    estimating the amount sought, and inviting further discussion regarding a potential
                                       25    compromise agreement as to fees. This email followed a pair of voicemails left for
                                       26    Plaintiff on September 18, 2015, which asked that Plaintiff contact undersigned counsel.
                                       27    As of the time of filing this statement, undersigned counsel has received no response to
                                       28    the emails or the voicemails.


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                                            Case 2:13-cv-02155-DLR         Document 157-2       Filed 10/06/15   Page 2 of 2



                                        1               DATED this 6th day of October, 2015.
                                        2                                              BRYAN CAVE LLP

                                        3
                                        4                                              By /s/ Eric M. Moores
                                                                                          Sean K. McElenney
                                        5                                                 Coree E. Neumeyer
                                                                                          Eric M. Moores
                                        6                                                 Two North Central Avenue, Suite 2200
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                                        7                                                 Telephone: (602) 364-7000
                                        8                                                     Attorneys for Defendants Bank of America,
                                                                                              N.A. and ReconTrust Co. N.A.
                                        9
                                       10
Two North Central Avenue, Suite 2200




                                       11 ORIGINAL of the foregoing electronically
                                          filed with the Court this 6th day of October, 2015.
    Phoenix, Arizona 85004-4406




                                       12
                                          COPY of the foregoing mailed
          Bryan Cave LLP


           (602) 364-7000




                                       13
                                          this 6th day of October, 2015:
                                       14
                                          Ivaylo Tsvetanov Dodev
                                       15 6312 S. 161st Way
                                       16 Gilbert, AZ 85298
                                       17    /s/ Lisa Remus
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